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12                        UNITED STATES DISTRICT COURT
13                     SOUTHERN DISTRICT OF CALIFORNIA
14

15                                                           '21CV329 JLS KSC
      FRV, a Minor, By and Through His            Case No.
16    Guardian ad litem, CRISTAL
      CAZARES VALENZUELA; and                     COMPLAINT FOR PERSONAL
17    SONIA VALENZUELA PEREZ,                     INJURIES
      Individually,
18                                                Federal Tort Claims Act
                         Plaintiffs,              28 U.S.C. Section 2671, et seq.
19                                                28 U.S.C. Section 1346(b), et seq.
      v.                                          28 U.S.C. Section 1367
20                                                28 U.S.C. Section 1402(b), et seq.
      UNITED STATES OF AMERICA;
21    and DOES 1 through 20, Inclusive,

22                       Defendants.

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24         COMES NOW plaintiffs, FRV, a Minor, By and Through His Guardian ad
25   Litem, CRISTAL CAZARES VALENZUELA; and SONIA VALENZUELA PEREZ,
26   Individually, and for causes of action against defendants, allege as follows:
27   ///
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 1                                    INTRODUCTION
 2         1.      The injuries and damages upon which this action is based occurred in the
 3   County of San Diego, State of California.
 4         2.      Plaintiff FRVis a minor, date of birth October 21, 2018. For the purposes
 5   of this action, CRISTAL CAZARES VALENZUELA, plaintiff FRV’s sister, has been
 6   and/or will be appointed as the Guardian ad Litem for plaintiff FRV. Plaintiff FRV
 7   is a resident of the County of San Diego, State of California.
 8         3.      Plaintiff SONIA VALENZUELA PEREZ ("MS. PEREZ”) is the mother
 9   of plaintiff FRV, a minor. MS. PEREZ was, at all times pertinent hereto, was and is
10   a resident of the County of San Diego, State of California.
11         4.      The Vista Community Clinic (“VCC”) is, and at all times pertinent
12   hereto was, a medical clinic located within the County of San Diego, State of
13   California.
14         5.      Melissa Hawkins, M.D. (“Dr. Hawkins”) is, and at all times pertinent
15   hereto was, a physician licensed to practice medicine and surgery by the State of
16   California, employed by VCC.
17         6.      At all times herein mentioned, defendant UNITED STATES OF
18   AMERICA was, and now is, a sovereign entity. The UNITED STATES of
19   AMERICA has deemed VCC and Dr. Hawkins to be federal employees for purposes
20   of the Public Health Service Act (“PHSA”), 42 U.S.C. § 233. Section 233 of the
21   PHSA provides medical malpractice liability coverage to deemed employees under
22   the Federal Tort Claims Act “FTCA”), 28 U.S.C. §§ 2671, et seq. and 28 U.S.C. §§
23   1346(b), et seq.
24         7.      This Court has subject matter jurisdiction over this action under the
25   provisions of the FTCA. Further, this court has supplemental jurisdiction over DOE
26   defendants 1 through 20 in accordance with 28 U.S.C. § 1367.
27         8.      On or about July 24, 2020, plaintiffs FRVand MS. PEREZ submitted
28   administrative tort claims to the United States Department of Health and Human
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 1   Services (“DHHS”). DHHS has acknowledged that it received the claim on August 3,
 2   2020. More than six months have elapsed since plaintiffs’ administrative tort claims
 3   were received by DHHS. Plaintiffs have not been notified by DHHS of any final
 4   action taken by DHHS with regard to plaintiffs’ administrative tort claims.
 5           9.    The residence and domicile of plaintiffs FRV and MS. PEREZ is, and
 6   at all times pertinent hereto was, within the County of San Diego, State of California,
 7   Southern District of California, in accordance with 28 U.S.C. § 1402(b).
 8           10.   The amount in controversy herein, exclusive of interest and costs,
 9   exceeds the sum of $10,000.00.
10           11.   The true names and capacities, whether individual, corporate, associate,
11   or otherwise of defendants DOES 1 through 10, inclusive, are unknown to plaintiffs,
12   who therefore sue said defendants by such fictitious names. Plaintiffs will amend this
13   complaint to show the true names and capacities when they have been ascertained.
14   Plaintiffs are informed and believe, and thereon allege, that each of the defendants
15   designated herein as a DOE is legally responsible in some manner for events and
16   happenings herein referred to and caused the damages herein alleged.
17           12.   The acts and conduct herein alleged were performed by defendants, or
18   agents and employees of defendants acting in the course and scope of said agency and
19   employment and with the knowledge and consent of their co-defendants and each of
20   them.
21                 FACTS RELEVANT TO ALL CAUSES OF ACTION
22           13.   On or about October 21, 2018, MS. PEREZ, a then 39 year-old, gravida
23   4, para 3 woman, presented to Labor and Delivery at Tri-City Medical Center (“Tri-
24   City”), which is located in the City of Oceanside, County of San Diego, State of
25   California. At that time, MS. PEREZ’ pregnancy was at or around 38 weeks, 5 days
26   gestation. She had received her prenatal care at VCC including, but not limited to,
27   from Dr. Hawkins, and had been diagnosed with gestational diabetes type A2, and
28   mild preeclampsia. Prior to October 21, 2018, she had been seen at VCC multiple
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 1   times that month in connection with her pregnancy. At or around 0730 on October 21,
 2   2018, MS. PEREZ experienced a large gush of fluid, as a result of which she went
 3   to Tri-City. She was admitted to Labor and Delivery at or around 0800. Her attending
 4   obstetrician was Dr. Hawkins. Labor was initially induced with Cytotec and Pitocin
 5   was started four hours later, per Dr. Hawkins’ orders. The fetal monitor tracing
 6   showed intermittent late decelerations. When MS. PEREZ progressed to 9.5 cm, she
 7   began to push and pushed to the point of exhaustion. At or around that time, the fetal
 8   heart rate tracing showed decreased variability and fetal tachycardia (rapid heart rate).
 9   Dr. Hawkins attempted a vacuum-assisted delivery unsuccessfully multiple times,
10   from a high fetal station, resulting in pop-offs 4 or 5 times. Thereafter, shoulder
11   dystocia was reportedly encountered. There was a delay of 6 minutes or longer
12   between delivery of the baby’s head and shoulders.
13         14.    By the time MS. PEREZ's son, Plaintiff FRV, was delivered at 2135, he
14   was noted to be floppy and limp without spontaneous respirations. A large amount
15   of meconium-stained amniotic fluid had to be suctioned from his oropharynx and
16   stomach. Resuscitation efforts were initiated and FRV was transported to the Tri-City
17   Neonatal Intensive Care Unit (“NICU”). He began having seizure activity in the
18   NICU and was subsequently transferred to Rady Children's Hospital.
19         15.    Dr. Hawkins and/or other employees of VCC, in the course and scope
20   of their employment with VCC, was negligent in her diagnosis, care, and treatment
21   of plaintiffs on and/or before 10/21/18, including, but not limited to the following:
22   (1) negligently failed to detect signs of fetal distress during labor; (2) negligently
23   misinterpreted the fetal monitor tracing; (3) negligently failed to timely deliver FRV
24   by performing a Cesarean section; and/or (4) negligently failed to recognize that a
25   vacuum extraction could not be safely attempted from a high station. Further,
26   Dr. Hawkins negligently attempted multiple times to perform a vacuum extraction,
27   ignoring the contraindications and the succession of pop-offs. VCC is vicariously
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 1   liable for the negligence of Dr. Hawkins and/or any other employees who may have
 2   been negligent.
 3         16.    The negligence of Dr. Hawkins caused severe and permanent injuries to
 4   FRV and MS. PEREZ.
 5         17.    As a result of defendants' negligence, FRV suffered injuries, including,
 6   but not limited to, respiratory failure, hypoglycemia, seizures, brachial plexus injury,
 7   hypoxic/ischemic encephalopathy, intracerebral hemorrhage and/or permanent brain
 8   injury resulting in global neurologic cognitive and motor dysfunction.
 9         18.    As a result of defendants’ negligence, MS. PEREZ suffered injuries,
10   including, but not limited to, severe emotional distress and right leg weakness and
11   numbness.
12                              FIRST CAUSE OF ACTION
13                                        (Negligence)
14         19.    Plaintiffs incorporate by reference the allegations contained in
15   paragraphs 1 through 18, herein above, as though set forth fully herein.
16         20.    Defendants so negligently and carelessly diagnosed, cared for and
17   treated, as well as negligently supervised the care and treatment of, plaintiffs FRV
18   and MS. PEREZ, so as to cause plaintiffs to suffer severe injuries.
19         21.    The negligence and carelessness of defendants including, but not limited
20   to, as set forth more fully in Paragraphs 13 though 15 above, constituted a failure to
21   use, and/or to insist upon the use of, that degree of skill and care ordinarily used by
22   healthcare professionals engaged in the practice of their profession under the same
23   or similar circumstances, and fell below the standard of care that would be exercised
24   by reasonably careful healthcare practitioners practicing under the same or similar
25   circumstances.
26         22.    As a legal result of the negligence and carelessness of the defendants,
27   plaintiff FRV suffered injuries, including, but not limited to, respiratory failure,
28   hypoglycemia, seizures, brachial plexus injury, hypoxic/ischemic encephalopathy,
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 1   intracerebral hemorrage and/or permanent brain injury resulting in global neurologic
 2   dysfunction, and was hurt and injured in his health, strength, and activity, sustaining
 3   injuries to his body and shock and injury to his nervous system and person, all of
 4   which have caused, and continue to cause him permanent injury in his health and
 5   physical ability, and will cause plaintiff FRV mental, physical, and nervous pain and
 6   suffering, fright, grief, anxiety, and apprehension, all to his general damage in an
 7   amount in excess of $10,000.00.
 8         23.    As a legal result of the negligence and carelessness of defendants,
 9   plaintiff MS. PEREZ was hurt and injured in her health, strength, and activity,
10   including, but not limited to, severe emotional distress and right leg weakness and
11   numbness, sustaining injuries to her body and shock and injury to her nervous system
12   and person, all of which have caused, and continue to cause plaintiff MS. PEREZ
13   permanent injury in her health, and will cause plaintiff mental, physical, and nervous
14   pain and suffering, fright, grief, anxiety, and apprehension, all to her general damage
15   in an amount in excess of $10,000.00. MS. PEREZ suffered injuries including, but
16   not limited to, as a direct result of the injuries to her son during labor and delivery,
17   and, accordingly, has suffered damages as a result of the defendants’ negligence and
18   carelessness as part of the mother-child unit pursuant to Burgess v. Superior Court
19   (1992) 2 Cal.4th 1064.
20         24.    As a further legal result of the negligence and carelessness on the part
21   of defendants, plaintiff FRV was permanently hurt and injured in his health and
22   physical ability, thereby causing a loss of future earnings and earning capacity, all to
23   his damage in an amount to be proven at the time of trial.
24         25.    As a further legal result of the negligence and carelessness on the part
25   of defendants, plaintiff FRV was permanently hurt and injured in his health and
26   physical ability, thereby creating the need for care from the time of birth to the
27   present, and in the future, including, but not limited to, medical, therapeutic, attendant
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 1   care, special educational, and life care needs, all to his damage in an amount to be
 2   proven at the time of trial.
 3                                          PRAYER
 4         WHEREFORE, plaintiffs pray judgment against defendant as follows:
 5         1.     For general and special damages as to plaintiffs FRV and MS. PEREZ
 6   in an amount to be proven at the time of trial;
 7         2.     For past and future medical and care expenses;
 8         3.     For future loss of earning capacity;
 9         4.     For pre-judgment interest as allowed by law;
10         5.     For costs of suit incurred herein, and;
11         6.     For such other and further relief as the court may deem just and proper.
12   Dated: February 22, 2021         KENNETH M. SIGELMAN & ASSOCIATES
13

14                                    By:    s/Kenneth M. Sigelman
                                             KENNETH M. SIGELMAN, ESQ.
15                                           Attorney for Plaintiff
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